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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JAY A. HELLER,                                       )
                                                     )       Case No. 1:20-cv-05220
       Plaintiff,                                    )
                                                     )       Hon. Judge Mary M. Rowland
v.                                                   )
                                                     )
CAINE & WEINER COMPANY, L.L.C.                       )
                                                     )
       Defendant.                                    )


                       NOTICE OF DISMISSAL WITH PREJUDICE

       Now comes the Plaintiff, JAY A. HELLER, by and through his attorneys, and respectfully

requests the Court enter an order dismissing this action with prejudice, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i). The Defendant has not yet filed an answer.

Dated: December 3, 2020
                                              RESPECTFULLY SUBMITTED,

                                              JAY A. HELLER

                                              By:    /s/ David B. Levin
                                                     Attorney for Plaintiff
                                                     Illinois Attorney No. 6212141
                                                     Law Offices of Todd M. Friedman, P.C.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2020 a copy of the foregoing Notice of Voluntary

Dismissal With Prejudice was filed electronically. Notice of this filing will be sent by operation

of the Court’s electronic filing system to all parties indicated on the electronic filing receipt.


                                                       /s/ David B. Levin
                                                       Attorney for Plaintiff




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